                      Case 2:13-cr-00296-KJM Document 379 Filed 05/05/17 Page 1 of 5
AO 245D-CAED(Rev. 11/2016) Sheet 1 - Judgment in a Criminal Case for Revocation



                             UNITED STATES DISTRICT COURT
                                                Eastern District of California
                UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
                           v.
                       SOU XIONG                                              Criminal Number: 2:13CR00296-011
                                                                              Defendant's Attorney: Robert M. Holley, Appointed
THE DEFENDANT:
      admitted guilt to violation of Charge 1 as alleged in the Superseding Violation Petition filed on 3/20/2017 .
      was found in violation of condition(s) of supervision as to charge(s)             after denial of guilt, as alleged in the violation petition
      filed on   .

The defendant is adjudicated guilty of these violations:
Violation Number                  Nature of Violation                                                            Date Violation Occurred
Charge 1                              Failure to Notify the Probation Officer of a Change in Residence 3/22/2017

The court:        revokes:        modifies:        continues under same conditions of supervision heretofore ordered on 5/20/2015 .

       The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

      Charges 2, 3, 4 & 5 and the underlying petition are dismissed.

        Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        It is ordered that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.
                                                                             5/3/2017
                                                                             Date of Imposition of Sentence




                                                                             Signature of Judicial Officer
                                                                             Kimberly J. Mueller, United States District Judge
                                                                             Name & Title of Judicial Officer
                                                                             5/5/2017
                                                                             Date
                     Case 2:13-cr-00296-KJM Document 379 Filed 05/05/17 Page 2 of 5
AO 245-CAED(Rev. 11/2016) Sheet 2 - Imprisonment
DEFENDANT:SOU XIONG                                                                                                             Page 2 of 5
CASE NUMBER:2:13CR00296-011

                                                         IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
5 months.

      No TSR: Defendant shall cooperate in the collection of DNA.

      The court makes the following recommendations to the Bureau of Prisons:

      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district
              at     on     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before       on    .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                      to
at                                                 , with a certified copy of this judgment.



                                                                      United States Marshal


                                                                      By Deputy United States Marshal
                      Case 2:13-cr-00296-KJM Document 379 Filed 05/05/17 Page 3 of 5
AO 245-CAED(Rev. 11/2016) Sheet 3 - Supervised Release
DEFENDANT:SOU XIONG                                                                                                              Page 3 of 5
CASE NUMBER:2:13CR00296-011

                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
24 months.

The defendant must report to the probation office in the district to which the defendant is released within seventy-two hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two (2) periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
      substance abuse.

      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

      The defendant shall cooperate in the collection of DNA as directed by the probation officer.

      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
      seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
      she resides, works, is a student, or was convicted of qualifying offense.

      The defendant shall participate in an approved program for domestic violence.

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                      Case 2:13-cr-00296-KJM Document 379 Filed 05/05/17 Page 4 of 5
AO 245-CAED(Rev. 11/2016) Sheet 3 - Supervised Release
DEFENDANT:SOU XIONG                                                                                                              Page 4 of 5
CASE NUMBER:2:13CR00296-011

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.       The defendant shall not leave the judicial district without permission of the court or probation officer;
2.       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3.       the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4.       the defendant shall support his or her dependents and meet other family responsibilities;
5.       the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
         other acceptable reasons;
6.       the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7.       the defendant shall refrain from excessive use of alcohol;
8.       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9.       the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
         convicted of a felony unless granted permission to do so by the probation officer;
10.      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit
         confiscation of any contraband observed in plain view by the probation officer;
11.      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcement officer;
12.      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
         the permission of the court;
13.      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
         criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
         confirm the defendant’s compliance with such notification requirement.
                                                     U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature _____________________________ Date _________________
                      Case 2:13-cr-00296-KJM Document 379 Filed 05/05/17 Page 5 of 5
AO 245-CAED(Rev. 11/2016) Sheet 3 - Supervised Release
DEFENDANT:SOU XIONG                                                                                                                Page 5 of 5
CASE NUMBER:2:13CR00296-011

                                          SPECIAL CONDITIONS OF SUPERVISION
1.       The defendant shall submit to the search of his person, property, home, and vehicle by a United States probation officer, or
         any other authorized person under the immediate and personal supervision of the probation officer, based upon reasonable
         suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation. The defendant shall warn
         any other residents that the premises may be subject to searches pursuant to this condition.
2.       The defendant shall provide the probation officer with access to any requested financial information.
3.       As directed by the probation officer, the defendant shall participate in and complete a minimum 13 month in-patient
         correctional treatment program to obtain assistance for drug or alcohol abuse and his other conditions (including his
         significant intellectual limitations and cognitive memory issues). If the operator of such a program requires a separate court
         order, the parties shall notify the court and submit a proposed order.
4.       As directed by the probation officer, the defendant shall participate in a program of testing (i.e. breath, urine, sweat patch,
         etc.) to determine if he has reverted to the use of drugs or alcohol.
5.       The defendant shall abstain from the use of alcoholic beverages and shall not frequent those places where alcohol is the chief
         item of sale.
6.       As directed by the probation officer, the defendant shall participate in a co-payment plan for treatment or testing and shall
         make payment directly to the vendor under contract with the United States Probation Office of up to $25 per month.
7.       The defendant shall register, as required in the jurisdiction in which he resides, as a drug offender.
8.       As directed by the probation officer, the defendant shall participate in a job training program for persons with disabilities.
